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                    EXHIBIT A
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Reg. No. 5,061,608          Triumph Designs Limited (UNITED KINGDOM Limited company )
                            Ashby Road,
Registered Oct. 18, 2016    Measham, Swadlincote, Derbyshire DE127JP
                            UNITED KINGDOM
Int. Cl.: 12                CLASS 12: Motorcycles and parts and structural parts therefor

Trademark                   THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR
Principal Register
                            OWNER OF INTERNATIONAL REGISTRATION 1289179 DATED 01-14-2016,
                            EXPIRES 01-14-2026

                            No claim is made to the exclusive right to use the following apart from the mark as shown:
                            "TWIN"

                            SER. NO. 79-183,236, FILED 01-14-2016
                            JANICE LEE MCMORROW, EXAMINING ATTORNEY
          Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 13 of 34 PageID #:31




Reg. No. 6,488,464             Triumph Designs Limited (UNITED KINGDOM limited liability company )
                               Normandy Way
Registered Sep. 21, 2021       Hinckley, Leicestershire Le10 3bz
Int. Cl.: 9, 25                UNITED KINGDOM
                               CLASS 9: Protective clothing, namely, clothing for protection against accidents or
Trademark                      injury; riding helmets, motorcycle helmets; protective gloves, namely, gloves for
Principal Register             protection against accidents or injury; protective footwear, namely, boots and shoes for
                               protection against accidents or injury; motorcycle goggles, safety goggles; eye covers
                               for protective purposes; motorcycle helmet visors; switches for controlling electrical
                               accessories for motorcycles; batteries for motorcycles; battery chargers; radios and
                               receivers of radio signals; aerials; electrical relays; tachometers; thermometers for
                               motorcycles; speedometers; electrical wiring installations; electrical adapters; electrical
                               locks; fire extinguishing apparatus and instruments; parts and fittings for all of the
                               aforesaid goods; all of the foregoing to be used in relation to motorcycles, tricycles,
                               mopeds and scooters only and all of the foregoing excluding 4-wheeled vehicles

                               CLASS 25: T-shirts, caps being headwear, and sweatshirts for adults, all relating to
                               motorcycles; none of the aforesaid goods bearing images of cars or other 4-wheeled
                               vehicles

                               THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                               ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                               OWNER OF INTERNATIONAL REGISTRATION 1338064 DATED 01-06-2017,
                               EXPIRES 01-06-2027

                               SER. NO. 79-204,664, FILED 01-06-2017
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 14 of 34 PageID #:32




Reg. No. 5,483,141          Triumph Designs Limited (UNITED KINGDOM LIMITED LIABILITY COMPANY)
                            Normandy Way
Registered Jun. 05, 2018    Hinckley, Leicestershire Le10 3bz
                            UNITED KINGDOM
Int. Cl.: 12                CLASS 12: motorcycles; mopeds; motor scooters; powered two-wheeled motor vehicles;
                            luggage racks for vehicles, for motorcycles, mopeds, motor scooters and bicycles; security
Trademark                   alarm devices for motorcycles and land vehicles; structural replacement parts and fittings for
                            all of the aforesaid goods; none being tyres or inner tubes for wheels, or treads for vehicles,
Principal Register          and all being for two-wheeled vehicles

                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR

                            OWNER OF INTERNATIONAL REGISTRATION 1354633 DATED 03-02-2017,
                            EXPIRES 03-02-2027

                            SER. NO. 79-211,862, FILED 03-02-2017
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 15 of 34 PageID #:33




Reg. No. 5,362,191             Triumph Designs Limited (UNITED KINGDOM LIMITED LIABILITY COMPANY)
                               Normandy Way
Registered Dec. 26, 2017       Hinckley, Leicestershire Le10 3bz
                               UNITED KINGDOM
Int. Cl.: 9, 12, 25, 35, 36,   CLASS 9: Articles of protective clothing for protection against accident or injury for use in
41                             motorcycling, dirt-biking, bicycling and e-biking; safety helmets; protective gloves for the
                               prevention of accident or injury and protective footwear for the prevention of accident or
Service Mark                   injury; steel capped boots being protective footwear for the prevention of accident or injury;
                               safety goggles; eyeshades, namely, eye covers for protective purposes; motorcycle helmet
Trademark                      visors; spectacles; sunglasses; cases for spectacles and sunglasses; electrical switches for
                               controlling electrical accessories for motorcycles, mopeds, scooters, powered two-wheeled
                               vehicles and other vehicles; batteries; battery chargers; radios; receivers of radio signals,
Principal Register             namely, radio receivers; aerials; blank video tapes and audio tapes; blank recordable compact
                               discs; blank recordable DVDs; photographic apparatus and instruments, namely, cameras;
                               telephones; electric relays; tachometers; thermometers not for medical purposes;
                               speedometers; starters for motors and engines; electrical wiring, electrical wires; electrical
                               adapters; electrical locks; fire extinguishing apparatus; structural parts and fittings for all of
                               the aforesaid goods

                               CLASS 12: Motorcycles; mopeds; motor scooters; motor powered two-wheeled vehicles;
                               electric bicycles; human powered 2-wheeled vehicles, namely, bicycles; land vehicles;
                               luggage racks for motor cars, motorcycles, motor scooters and motor powered two-wheeled
                               vehicles; antitheft alarm devices for motorcycles, mopeds, motor scooters, motor powered
                               two-wheeled vehicles and other land vehicles in the nature of motorcycles; metal stands for
                               holding stationary motorcycles, mopeds, motor scooters and motor powered two-wheeled
                               vehicles; tyres for vehicle wheels; electrical heated handlebar grips for motorcycles, mopeds,
                               motor scooters and motor powered two-wheeled vehicles; structural parts and fittings for all
                               of the aforesaid goods

                               CLASS 25: Clothing, namely, jeans, t-shirts, shirts, blouses, jackets, trousers, shorts, caps,
                               hats, gloves, scarves, socks, ties, jumpers, cardigans, sweaters, sweatshirts, track suits,
                               thermal base layers in the nature of thermal underwear; footwear, namely, shoes, boots, sports
                               shoes; headwear

                               CLASS 35: Retail store services, wholesale store services, and distributor services in the field
                               of cosmetics, perfumery, toiletries, soaps, essential oils, dentifrices, decorative transfers for
                               cosmetic purposes, cleaning, bleaching and polishing preparations and substances, degreasers,
Case: 1:24-cv-07279sandpaper,
                    Document  sand cloth, emery cloth, turpentine, waxes, petrol, diesel, oils, greases, lubricants,
                                  #: 1-1 Filed: 08/18/24 Page 16 of 34 PageID #:34
                           fuels, metal goods for motorcycles, mopeds, scooters, two-wheeled vehicles and other
                           vehicles, badges, key chains, watch chains, key rings, chains, locks, nuts, bolts, screws, cables
                           and non-electric wires, ironmongery, protective clothing, helmets, protective gloves and
                           protective footwear, steel capped boots, goggles, eyeshades, visors, spectacles, sunglasses,
                           cases for spectacles and sunglasses, sunshades, motorcycles, mopeds, scooters, two-wheeled
                           vehicles and other vehicles electrical accessories, parts and instruments for motorcycles,
                           mopeds, scooters, powered two-wheeled vehicles and other vehicles, switches for controlling
                           electrical accessories for motorcycles, mopeds, scooters, powered two-wheeled vehicles and
                           other vehicles, batteries, battery chargers, electronic games, radios and receivers of radio
                           signals, aerials, video tapes and audio tapes, compact discs, DVDs, photographic apparatus
                           and instruments, telephones, relays, tachometers, thermometers, speedometers, horns, starters,
                           electrical wiring, harnesses, sub-harnesses, adapters, electrical locks, alarm apparatus and
                           instruments, fire extinguishing apparatus and instruments, lighting apparatus and instruments,
                           light bulbs, headlamp covers, reflectors for motorcycles, mopeds, scooters, powered 2-
                           wheeled vehicles and other vehicles, torches, motorcycles, mopeds, scooters, powered 2-
                           wheeled vehicles, vehicles, luggage racks, alarm devices for motorcycles, mopeds, scooters,
                           powered two-wheeled vehicles and other vehicles, stands for motorcycles, mopeds, scooters,
                           powered two-wheeled vehicles, tyres, jewellery, watches, clocks, watch bands, straps and
                           chains, bracelets, buckles, cufflinks, key rings, key fobs, badges, tie clips and pins, printed
                           matter, periodical publications, books, manuals, calendars, postcards, posters, pictures,
                           photographs, photograph albums, cheque book covers, binders, files, banners, stickers,
                           decalcomanias, playing cards, tattoos, atlases, stationery, rubber and plastic materials and
                           goods made from these materials for motorcycles, mopeds, scooters, two-wheeled vehicles
                           and other vehicles, luggage, trunks, umbrellas, belts, bands and straps, briefcases, key cases,
                           back packs, rucksacks, bags, boxes, tool belts, wallets and purses, covers for motorcycles,
                           mopeds, scooters, powered two-wheeled vehicles and other vehicles, domestic utensils and
                           containers, mugs and cups, glassware, chinaware, earthenware, clothing, headwear, footwear,
                           buckles, games and playthings, sporting articles, beer, ale, mild, lager, stout, porter, non-
                           alcoholic beverages, fruit juices and drinks, mineral and aerated waters, alcoholic beverages,
                           cigarette lighters, smokers` requisites, structural parts and fittings for any of the
                           aforementioned goods; advertising services; marketing services

                           CLASS 36: Credit card services, namely, issuing of credit cards; banking; financial services,
                           namely, issuing of credit cards; provision of personal loans; financial management; extended
                           warranty services, namely, service contracts; insurance brokerage services; financial
                           sponsorship services, namely, financial sponsorship of sports competition; advice,
                           information and consultancy services relating to all of the aforesaid services

                           CLASS 41: Social club services, namely, arranging, organizing, and hosting social events,
                           get-togethers, and parties for club members; entertainment services in the nature of
                           organizing motorcycle tours and related social events; leisure services in the nature of
                           competition in the field of sports; organization of shows, exhibitions and sports competitions
                           for entertainment and recreational purposes; rental of sports equipment except vehicles;
                           recreational services, namely, organizing exhibitions for sporting purposes; publishing
                           services, namely, publishing of books and magazines; advice, information and consultancy
                           services relating to all of the aforesaid services

                           The mark consists of a triangle containing two stylized chevrons resembling arrow heads.

                           OWNER OF INTERNATIONAL REGISTRATION 1356839 DATED 08-05-2016,
                           EXPIRES 08-05-2026

                           SER. NO. 79-212,871, FILED 08-05-2016




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Reg. No. 5,435,713          Triumph Designs Limited (WALES Limited Company England & Wales )
                            Normandy Way
Registered Apr. 03, 2018    Hinckley, Leicestershire Le10 3bz
                            UNITED KINGDOM
Int. Cl.: 12                CLASS 12: Motorcycles; mopeds; scooters; bicycles; e-bikes; e-bicycles; powered two-
                            wheeled vehicles; tricycles; quad bikes; land vehicles; parts and fittings for all the aforesaid
Trademark                   goods

Principal Register          THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR

                            PRIORITY DATE OF 08-24-2017 IS CLAIMED

                            OWNER OF INTERNATIONAL REGISTRATION 1372812 DATED 08-31-2017,
                            EXPIRES 08-31-2027

                            SER. NO. 79-219,839, FILED 08-31-2017
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 18 of 34 PageID #:36




Reg. No. 5,435,714          Triumph Designs Limited (ENGLAND Limited Company England & Wales )
                            Normandy Way
Registered Apr. 03, 2018    Hinckley, Leicestershire Le10 3bz
                            UNITED KINGDOM
Int. Cl.: 12                CLASS 12: Motorcycles and parts and fittings for motorcycles

Trademark                   THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR
Principal Register
                            OWNER OF INTERNATIONAL REGISTRATION 1372813 DATED 08-31-2017,
                            EXPIRES 08-31-2027

                            SER. NO. 79-219,840, FILED 08-31-2017
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 19 of 34 PageID #:37




Reg. No. 5,521,754          Triumph Designs Limited (ENGLAND Limited Company England & Wales )
                            Normandy Way
Registered Jul. 24, 2018    Hinckley, Leicestershire Le10 3bz
                            UNITED KINGDOM
Int. Cl.: 12                CLASS 12: Motorcycles; mopeds; scooters; bicycles; e-bikes; e-bicycles; powered two-
                            wheeled vehicles; tricycles; quad bikes; parts and fittings for all the aforesaid goods
Trademark
                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
Principal Register          PARTICULAR FONT STYLE, SIZE OR COLOR

                            OWNER OF INTERNATIONAL REGISTRATION 1372814 DATED 08-31-2017,
                            EXPIRES 08-31-2027

                            No claim is made to the exclusive right to use the following apart from the mark as shown:
                            "STREET"

                            SER. NO. 79-219,841, FILED 08-31-2017
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 20 of 34 PageID #:38




Reg. No. 5,521,755          Triumph Designs Limited (ENGLAND Limited Company England & Wales )
                            Normandy Way
Registered Jul. 24, 2018    Hinckley, Leicestershire Le10 3bz
                            UNITED KINGDOM
Int. Cl.: 12                CLASS 12: Motorcycles; mopeds; scooters; bicycles; e-bikes; e-bicycles; powered two-
                            wheeled vehicles; tricycles; quad bikes; parts and fittings for all the aforesaid goods
Trademark
                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
Principal Register          PARTICULAR FONT STYLE, SIZE OR COLOR

                            OWNER OF INTERNATIONAL REGISTRATION 1372815 DATED 08-31-2017,
                            EXPIRES 08-31-2027

                            No claim is made to the exclusive right to use the following apart from the mark as shown:
                            "STREET"

                            SER. NO. 79-219,842, FILED 08-31-2017
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 21 of 34 PageID #:39




Reg. No. 5,483,267          Triumph Designs Limited (ENGLAND Limited company )
                            Ashby Road
Registered Jun. 05, 2018    Measham
                            Swadlincote Derbyshire De12 7jp, UNITED KINGDOM
Int. Cl.: 12                CLASS 12: Motorcycles; body panels for motorcycles

Trademark                   THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR
Principal Register
                            OWNER OF INTERNATIONAL REGISTRATION 1373338 DATED 08-31-2017,
                            EXPIRES 08-31-2027

                            SER. NO. 79-220,068, FILED 08-31-2017
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 22 of 34 PageID #:40




Reg. No. 5,516,233          Triumph Designs Limited (UNITED KINGDOM Limited Company England & Wales )
                            Ashby Road
Registered Jul. 17, 2018    Measham, Swadlincote
                            Derbyshire De12 7jp, UNITED KINGDOM
Int. Cl.: 12                CLASS 12: Motorcycles and parts therefor; all included in this class
Trademark                   THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR
Principal Register
                            OWNER OF INTERNATIONAL REGISTRATION 1374553 DATED 08-31-2017,
                            EXPIRES 08-31-2027

                            No claim is made to the exclusive right to use the following apart from the mark as shown:
                            "SPEED"

                            SER. NO. 79-220,606, FILED 08-31-2017
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 23 of 34 PageID #:41




Reg. No. 5,505,573          Triumph Designs Limited (UNITED KINGDOM Limited company )
                            Ashby Road
Registered Jul. 03, 2018    Measham Swadlincote, Derbyshire De12 7jp
                            UNITED KINGDOM
Int. Cl.: 12                CLASS 12: Motorcycles and parts thereof; all included in this class

Trademark                   THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR
Principal Register
                            OWNER OF INTERNATIONAL REGISTRATION 1374849 DATED 08-31-2017,
                            EXPIRES 08-31-2027

                            No claim is made to the exclusive right to use the following apart from the mark as shown:
                            "DAYTONA"

                            SER. NO. 79-220,766, FILED 08-31-2017
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 24 of 34 PageID #:42




Reg. No. 5,483,284          Triumph Designs Limited (UNITED KINGDOM Limited company )
                            Normandy Way
Registered Jun. 05, 2018    Hinckley, Leicestershire Le10 3bz
                            UNITED KINGDOM
Int. Cl.: 43                CLASS 43: Restaurant, cafe and bar services; catering services; advice, information and
                            consultancy services relating to all of the aforesaid services
Service Mark
                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
Principal Register          PARTICULAR FONT STYLE, SIZE OR COLOR

                            OWNER OF INTERNATIONAL REGISTRATION 1376371 DATED 10-10-2017,
                            EXPIRES 10-10-2027

                            No claim is made to the exclusive right to use the following apart from the mark as shown:
                            "CAFÉ"

                            SER. NO. 79-221,426, FILED 10-10-2017
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 25 of 34 PageID #:43




Reg. No. 5,992,943          Triumph Designs Limited (ENGLAND Limited Company England & Wales )
                            Normandy Way
Registered Feb. 25, 2020    Hinckley, Leicestershire Le10 3bz
                            UNITED KINGDOM
Int. Cl.: 12                CLASS 12: Motorcycles

Trademark                   THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR
Principal Register
                            PRIORITY DATE OF 08-23-2017 IS CLAIMED

                            OWNER OF INTERNATIONAL REGISTRATION 1399385 DATED 12-27-2017,
                            EXPIRES 12-27-2027

                            SER. NO. 79-231,080, FILED 12-27-2017
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 26 of 34 PageID #:44




Reg. No. 5,864,899          Triumph Designs Limited (UNITED KINGDOM Limited Company )
                            Ashby Road,
Registered Sep. 24, 2019    Measham Swadlincote, Derbyshire De12 7j
                            UNITED KINGDOM
Int. Cl.: 16, 25            CLASS 16: printed matter in the nature of magazines, manuals, handbooks, catalogs, and
                            brochures, all in the field of motorcycles, motor vehicles, and motorcycle accessories and
Trademark                   parts; periodical publications, namely, printed periodicals in the field of motorcycles, motor
                            vehicles, and motorcycle accessories and parts; books in the field of motorcycles, motor
Principal Register          vehicles, and motorcycle accessories and parts; manuals in the field of motorcycles, motor
                            vehicles, and motorcycle accessories and parts; calendars; postcards; posters; pictures;
                            photographs; photograph albums; cheque book covers; binders; document files; paper
                            banners; stickers; decalcomanias; temporary tattoo transfers; atlases; stationery

                            CLASS 25: clothing, namely, jeans, shirts, jackets, pants, shorts, gloves, scarves, socks, ties,
                            sweaters, sweatshirts, track suits, and thermal base layers, footwear and headwear

                            The mark consists of a stylized tiger in a running motion with its teeth and claws bared. The
                            number "110" appears in the middle of the tiger's body.

                            PRIORITY DATE OF 08-17-2018 IS CLAIMED

                            OWNER OF INTERNATIONAL REGISTRATION 1447112 DATED 11-14-2018,
                            EXPIRES 11-14-2028

                            SER. NO. 79-250,774, FILED 11-14-2018
          Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 27 of 34 PageID #:45




Reg. No. 6,241,969             Triumph Designs Limited (UNITED KINGDOM Limited company )
                               Ashby Road
Registered Jan. 12, 2021       Measham
Int. Cl.: 9                    Swadlincote, Derbyshire De12 7jp, UNITED KINGDOM
                               CLASS 9: downloadable computer software applications for control of motorcycle
Trademark                      navigation, providing navigation and map information in the form of digital maps, and
Principal Register             allowing users to search and determine the location of objects, people, places and points
                               of interests on digital maps; downloadable computer software for control of motorcycle
                               navigation, providing navigation and map information in the form of digital maps, and
                               allowing users to search and determine the location of objects, people, places and points
                               of interests on digital maps; satellite navigation apparatus and instruments for vehicles;
                               GPS navigation or location apparatus and instruments; route planners in the nature of
                               handheld personal computers; holders specially adapted for route planners in the nature
                               of handheld personal computers; vehicle tracking apparatus and instruments; signaling
                               apparatus and instruments, namely, vehicle traffic signals; blank magnetic data carriers;
                               alarm apparatus and instruments, namely, parts for anti-theft motorcycle alarms, in the
                               nature of electronic sensors, remote control transmitters and receivers for remotely
                               operating motorcycles; parts and fittings for all of the aforesaid goods

                               THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                               ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                               PRIORITY DATE OF 01-22-2019 IS CLAIMED

                               OWNER OF INTERNATIONAL REGISTRATION 1471466 DATED 04-29-2019,
                               EXPIRES 04-29-2029

                               SER. NO. 79-260,662, FILED 04-29-2019
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 28 of 34 PageID #:46




Reg. No. 7,215,532            Triumph Designs Limited (UNITED KINGDOM Limited Company )
                              Hinckley, Leicestershire LE10 3BZ
Registered Nov. 14, 2023      Normandy Way
Int. Cl.: 12                  UNITED KINGDOM
                              CLASS 12: Motorcycles; mopeds; scooters, namely, motor scooters; powered two-
Trademark                     wheeled motor vehicles; kickstands for motorcycles; electrical heated handlebar grips
Principal Register            for motorcycles; parts, accessories and fittings for all of the aforesaid goods, namely,
                              tires, handlebars, and structural motorcycle parts

                              THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                              ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                              PRIORITY DATE OF 05-18-2022 IS CLAIMED

                              OWNER OF INTERNATIONAL REGISTRATION 1691976 DATED 09-02-2022,
                              EXPIRES 09-02-2032

                              SER. NO. 79-353,820, FILED 09-02-2022
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 29 of 34 PageID #:47




Reg. No. 7,390,054            Triumph Designs Limited (UNITED KINGDOM limited company (ltd.))
                              Normandy Way,
Registered May 21, 2024       Hinckley Leicestershire LE10 3BZ
Int. Cl.: 12                  UNITED KINGDOM
                              CLASS 12: Motorcycles; mopeds; scooters, namely, motor scooters; bicycles; electric
Trademark                     bicycles; powered two-wheeled motor vehicles; tricycles not being toys; quad bikes;
Principal Register            parts and fittings for all the aforesaid goods, namely, tires, handlebars, engines,
                              structural parts, and brakes

                              THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                              ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                              PRIORITY DATE OF 12-06-2022 IS CLAIMED

                              OWNER OF INTERNATIONAL REGISTRATION 1724524 DATED 02-28-2023,
                              EXPIRES 02-28-2033

                              No claim is made to the exclusive right to use the following apart from the mark as
                              shown: "STREET TRACKER"

                              SER. NO. 79-367,515, FILED 02-28-2023
          Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 30 of 34 PageID #:48




Reg. No. 6,866,489             Triumph Designs Limited (ENGLAND CORPORATION)
                               Normandy Way, Hinckley
Registered Oct. 04, 2022       Leicestershire, UNITED KINGDOM LE103BZ
Int. Cl.: 12, 25, 28           CLASS 12: (Based on 44(e)) Motorcycles; mopeds; scooters; tricycles; bicycles;
                               powered two-wheeled motor vehicles; and structural parts therefor for all of the
Trademark                      aforesaid goods
Principal Register             CLASS 25: (Based on Use in Commerce) Clothing, namely, jeans, jackets, salopettes,
                               gloves and boots, all of leather; rainwear, namely, oversuits, salopettes and jackets;
                               cloth overalls, jackets; denim jeans; T-shirts; sweatshirts; thermal base layers; hats and
                               caps; jumpers, cardigans and sweaters; not including underwear, foundation garments,
                               swimwear or nightwear

                               FIRST USE 1-25-1995; IN COMMERCE 1-25-1996

                               CLASS 28: (Based on 44(e)) Toy scooters; toy children's tricycles and bicycles; teddy
                               bears; tennis rackets; board games relating to motorcycles; games relating to
                               motorcycles; parts therefor for all of the aforesaid goods

                               THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                               ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                               PRIORITY CLAIMED UNDER SEC. 44(D) ON EUROPEAN (EU) OFFICE FOR
                               HARMONIZATION IN THE INTERNAL MARKET (OHIM) APPLICATION NO.
                               10481257, FILED 12-09-2011, REG. NO. UK00003179420, DATED 11-18-2016,
                               EXPIRES 08-09-2026

                               OWNER OF U.S. REG. NO. 2571967, 0552794, 2978998

                               SER. NO. 85-500,234, FILED 12-20-2011
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 31 of 34 PageID #:49




Reg. No. 5,029,574          Triumph Designs Limited (UNITED KINGDOM limited company (ltd.) )
                            Normandy Way, Hinckley
Registered Aug. 30, 2016    Leicestershire UNITED KINGDOM LE103BZ

                            CLASS 9: Articles of protective clothing for protection against accident or injury for use in
Int. Cl.: 9, 25             motorcycling and dirt-biking; motorcycle helmets; sunglasses; sunglass cases
Trademark                   FIRST USE 00-00-1996; IN COMMERCE 00-00-1996

Principal Register          CLASS 25: clothing, namely, footwear, headwear, namely, jeans, t-shirts, shirts, blouses,
                            jackets, trousers, shorts, caps, hats, gloves, scarves, socks, ties, jumpers, cardigans, sweaters,
                            sweatshirts, track suits, thermal base layers, shoes, boots, sports shoes; not including
                            underwear, foundation garments, swimwear or nightwear

                            FIRST USE 00-00-1996; IN COMMERCE 00-00-1996

                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR

                            SER. NO. 86-474,866, FILED 12-09-2014
                            DAWN FELDMAN LEHKER, EXAMINING ATTORNEY
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 32 of 34 PageID #:50




Reg. No. 6,481,285            Triumph Designs Limited (UNITED KINGDOM limited company (ltd.) )
                              Normandy Way, Hinckley
Registered Sep. 14, 2021      Leicestershire, UNITED KINGDOM LE103BZ
Int. Cl.: 12                  CLASS 12: bicycles; e-bikes; e-bicycles; powered two-wheeled vehicles, namely,
                              motorcycles; tricycles; quad bikes; structural parts for all the aforesaid goods
Trademark
                              THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
Principal Register            ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                              PRIORITY CLAIMED UNDER SEC. 44(D) ON EUROPEAN (EU) OFFICE FOR
                              HARMONIZATION IN THE INTERNAL MARKET (OHIM) APPLICATION NO.
                              015271521, FILED 03-23-2016, REG. NO. 015271521, DATED 01-11-2021,
                              EXPIRES 03-23-2026

                              SER. NO. 87-067,387, FILED 06-10-2016
         Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 33 of 34 PageID #:51




Reg. No. 5,309,264          Triumph Designs Limited (UNITED KINGDOM limited company (ltd.) )
                            Normandy Way, Hinckley
Registered Oct. 17, 2017    Leicestershire, UNITED KINGDOM LE103BZ

                            CLASS 12: motorcycles; mopeds; scooters; vehicles; bicycles; e-bikes; e-bicycles; quad
Int. Cl.: 12                bikes; parts, accessories and fittings for all of the aforesaid goods

Trademark                   THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR
Principal Register
                            PRIORITY CLAIMED UNDER SEC. 44(D) ON EUROPEAN (EU) OFFICE FOR
                            HARMONIZATION IN THE INTERNAL MARKET (OHIM) APPLICATION NO.
                            015727019, FILED 08-05-2016, REG. NO. 015727019, DATED 02-14-2017, EXPIRES
                            08-05-2026

                            SER. NO. 87-150,740, FILED 08-25-2016
          Case: 1:24-cv-07279 Document #: 1-1 Filed: 08/18/24 Page 34 of 34 PageID #:52




Reg. No. 6,014,143       Triumph Designs Limited (UNITED KINGDOM limited company (ltd.) )
                         Normandy Way
Registered Mar. 17, 2020 Hinckley
                         Leicestershire, UNITED KINGDOM LE103BZ
Int. Cl.: 14, 18                CLASS 14: watches; cufflinks; key rings; decorative key fobs; badges of precious metal;
                                articles made of precious metal or coated therewith, namely, lapel badges, statues and
Trademark                       sculptures; pins

Principal Register              FIRST USE 12-00-1995; IN COMMERCE 12-00-1995

                                CLASS 18: luggage; umbrellas; briefcases; key cases; back packs; rucksacks; handbags;
                                travelling bags; leather bags; weekend bags; duffel bags; carry-on bags; tote bags; wallets and
                                purses

                                FIRST USE 12-00-1995; IN COMMERCE 12-00-1995

                                THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                                PARTICULAR FONT STYLE, SIZE OR COLOR

                                SER. NO. 87-785,916, FILED 02-06-2018
